                   Case 8-18-74056-las                 Doc 12   Filed 09/17/18    Entered 09/17/18 14:13:36


 Information to identify the case:
 Debtor 1              Christine E. Lulenski                                     Social Security number or ITIN   xxx−xx−7270
                       First Name   Middle Name   Last Name                      EIN   _ _−_ _ _ _ _ _ _
 Debtor 2                                                                        Social Security number or ITIN _ _ _ _
                       First Name   Middle Name   Last Name
 (Spouse, if filing)
                                                                                 EIN   _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court Eastern District of New York

 Case number: 8−18−74056−las




                                                              FINAL DECREE


The estate of the above named debtor(s) has been fully administered.




IT IS ORDERED THAT:



         • Allan B. Mendelsohn (Trustee) is discharged as trustee of the estate of the above−named debtor(s).

         • The Chapter 7 case of the above−named debtor(s) is closed.


                                                                                 s/ Louis A. Scarcella
                                                                                 United States Bankruptcy Judge

 Dated: September 17, 2018




BLfnld7 [Final Decree 7 rev 12/01/15]
